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SILICON STORAGE TECHNOLOGY, INC.

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

SILICON STORAGE TECHNOLOGY, INC.,
Plaintiff,

Vv.

NATIONAL UNION FIRE INSURANCE
COMPANY OF PITTSBURGH, PA., and XL
SPECIALTY INSURANCE COMPANY,

Defendants.

Civil Case No.: 5:13-CV-05658-LHK

SILICON STORAGE TECHNOLOGY,

INC.’S OPPOSITION TO

DEFENDANTS’ MOTION TO
COMPEL RE MEDIATION AND
JOINT DEFENSE PRIVILEGES

Before the Honorable Paul S. Grewal

Date: June 9, 2015
Time: 10:00 a.m.

Place: Courtroom 5 - 4th Floor

SILICON STORAGE TECHNOLOGY, INC.’S OPPOSITION TO DEFENDANTS’
MOTION TO COMPEL RE MEDIATION AND JOINT DEFENSE PRIVILEGE

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1. INTRODUCTION

The Insurers seek an order compelling SST to produce documents that are protected by
California’s mediation confidentiality statute. The Insurers start by arguing that Federal Rule of
Evidence 408 applies in this diversity action to the admissibility of mediation communications,
rather than California’s mediation privilege, Cal. Evid. Code §§ 1115 et seq. But the Insurers
fail to cite a single case so holding. They cite one decision contrary to their argument — but it is
from 1999, which would suggest to the unwary reader that the issue is up in the air and that no
decision in the subsequent 16 years has addressed the Insurers’ argument.

The Insurers never mention the score of federal decisions applying the California
mediation privilege in diversity actions, including the Ninth Circuit, a case from the District of
New Jersey earlier this year in which the two lead lawyers for the Insurers here were counsel for
insurers seeking (unsuccessfully) to pierce the mediation privilege, and, perhaps most
pertinently, the ruling on this very issue by Judge Koh, to whom this case is assigned. As Judge

Koh held just six months ago, in rejecting the same argument the Insurers make here:

The Court finds that “state law supplies the rule of decision” because
both the instant action and the Scott-George/Wiggs action implicate
only state causes of action. As such, under Federal Rule of Evidence
501, the Court applies California law as to the scope of the
mediation privilege (cites omitted).

Chavez v. PVH Corp., 2014 WL 6617142 at *6 n.4 (N.D. Cal. Nov. 20, 2014). Put bluntly, the
Insurers did not have a good faith basis for making this argument.

The Insurers’ second argument is that even if the California mediation privilege does
apply here (which it absolutely does), they are nonetheless entitled to confidential mediation
documents under a “due process” exception. But once again they fail to cite a single case
supporting their position. In fact, because “there are no exceptions to mediation confidentiality,
other than those provided by statute” (Rael v. Davis, 166 Cal. App. 4th 1608, 1622 (2008)), the
Insurers’ own cited cases reflect that a due process exception to the California mediation
privilege has only been applied when a party’s fundamental interest in the constitutional right to

confrontation in criminal proceedings is at stake. The Insurers do not contend that the present

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insurance coverage action implicates such a constitutional right, and the California Supreme
Court has explained that “the mere loss of evidence [resulting from the application of the
mediation confidentiality statutes] pertinent to the prosecution of a lawsuit for civil damages
does not implicate such a fundamental interest.” Cassel v. Superior Court, 51 Cal. 4th 113, 135
(2011); accord Wimsatt v. Superior Court, 152 Cal. App. 4th 137, 163 (2007). Thus, the
Insurers had no reasonable basis for making this argument either.

The Insurers’ third argument as to the mediation privilege is that SST has not sufficiently
supported its claim. Setting aside the obvious point that SST had no obligation to submit
anything other than a privilege log up to this time — and that the privilege log itself is the
document that memorializes a party’s objections to the production of privileged documents —
SST is submitting the Declarations of Jo Dale Carothers and David Goodwin, which set forth
facts demonstrating that the documents as to which SST objects on the basis of the mediation
privilege are indeed protected by the privilege.'

No doubt the Insurers are frustrated that they cannot obtain or use documents protected
by California’s privileges, but that does not provide a legal basis for ignoring established
California law. As the California Supreme Court stated: “the [mediation] statutes’ terms must
govern, even though they may compromise petitioner’s ability to prove his claim... .” Cassel,

51 Cal. 4th at 119. The Insurers simply refuse to acknowledge the breadth of and seriousness

After receiving the Insurers’ motion, SST carefully reviewed the two lists of documents

for which the Insurers challenge the privilege claims on SST’s 277-page privilege log. (ECF
#74-1, Ex. 2.) SST discovered that, as with large scale productions such as the one here,
documents were included that should not have been logged. For example, SST included in the
privilege log a letter that it had produced to the Insurers (Goodwin Decl., { 3), and a number of
documents that are privileged but are not actually related to this case (Carothers Decl., § 11).
SST will inform the Insurers in advance of the hearing on this motion of any documents for
which it is withdrawing its objections. At the same time, the Insurers acknowledged that they
had mistakenly represented in their moving papers that no written joint defense agreements exist
between SST and its former employees Yeh and Levi; they now concede that SST had produced
three joint defense agreements to the Insurers. (ECF #94; see Carothers Decl., Exs. A-C.)

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with which California courts, and federal courts applying California’s mediation protections,
treat mediation confidentiality. It is broad, it is close to absolute, it applies to communications
before, during, and ten days after the mediation, and it is not subject to exceptions other than
those statutorily granted, such as by consent of all participants to the mediation. /d. at 124 (“the
mediation confidentiality statutes must be applied in strict accordance with their plain terms”).
Because no such exception applies here, the Insurers’ motion to compel production of
mediation-related documents must fail.

The Insurers also challenge SST’s assertion of the joint defense/common interest
privilege with respect to certain documents. Here too they cite no case even remotely pertinent
to the issue here. Instead, they merely suggest that SST, Bing Yeh and Amitay Levi might not
have shared a common legal interest in defending the underlying litigation. The undisputed
record is to the contrary. All three were co-defendants in trade secret litigation in which they
were being charged with misappropriation and use of alleged trade secrets. Moreover, SST had
an indemnity agreement with the two individual defendants under which it was required to pay
for their defense and for indemnity had they not settled and instead lost the case. (Carothers
Decl., 495, 10.) They also entered into written joint defense agreements that, contrary to the
Insurers’ statements in their moving papers (corrected in ECF# 94, filed May 29, 2015), were
produced to the Insurers here. Of course, they shared a common legal interest in defending the
case. Thus, SST and the two individual defendants properly shared privileged material to
further their common interests without waiving their privileges and work product protection.

Finally, the Insurers move for the fourth time for an extension of the fact discovery
deadline. The Court should deny that demand as well. Judge Koh denied the Insurers’ first
motion to extend the fact discovery deadline, finding that the Insurers “have not been diligent in
pursuing discovery” in this case. ECF #66, at 1. And, on May 28, 2015, Judge Koh issued
another order (ECF #88) reaffirming the existing discovery cutoff date, and refusing to continue

the next case management conference: “Because the case must progress expeditiously before

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the June 4, 2015 fact discovery cutoff, and the Court does not want to introduce delay,
Defendant’s motion is DENIED.”

The Court should deny the Insurers’ motion to compel in its entirety.
Yl. RELEVANT BACKGROUND

In this action, SST seeks insurance coverage from its two D&O Insurers, National Union
and XL, for the cost of settling the “Trade Secret Action,” a Santa Clara County Superior Court
lawsuit that Xicor filed against SST and two former SST employees. (ECF #1, §2.) In that
Action, Xicor alleged that two of its former employees had taken trade secrets with them when
they joined SST, and sought damages for the alleged use of such secrets while at SST. (dd. 4]
22-27.) SST and the two employees denied the allegations, including that the purported trade
secrets were trade secrets. SST was obligated by agreement to indemnify and hold harmless the
two individual defendants for the claims against them in the Trade Secret Action. Ud. § 29.)

In March and April 2011, shortly after the filing of the Trade Secret Action, the parties
exchanged correspondence regarding mediation. (Carothers Decl., § 7.) However, the formal
mediation session that was planned did not take place then, and instead was delayed until
August 15, 2012, when the parties held a formal mediation in San Francisco before Anthony
Piazza. (d.) There were a number of mediation-related communications between counsel for
SST and counsel of Xicor, as well as between SST and the Insurers, leading up to the mediation
session, and there were additional such communications after the mediation session. The
documents listed in paragraph 9 to the Carothers Declaration and paragraph 4 to the Goodwin
Declaration were mediation communications that would not have existed but for the mediation.
SST accepted Xicor’s settlement demand on August 24, 2012 and signed a formal settlement
agreement a week later. (Goodwin Decl., { 2; ECF #26, at 3.) Along the way, the parties
exchanged mediation communications that ultimately resulted in the settlement. Ud.)

While not directly relevant to their motion, the Insurers assert that SST did not provide
the Insurers an opportunity to be involved in the August 2012 mediation and settlement of the

Trade Secret Action. On the contrary, National Union actually attended a portion of the

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mediation, and XL was invited to attend but chose instead to have a representative available by
phone. (ECF #81-3, §§ 5-6.) Moreover, before SST agreed to the ultimate settlement demand,
SST sought the Insurers’ input and agreement to waive any “consent to settlement” defenses to
coverage. (ECF #81-2, § 2.) The Insurers declined to pay any portion of the Trade Secret
Action settlement but agreed that they would not assert as a defense to coverage that SST lacked
their consent to enter into the settlement. (ECF #26, at 3-4; ECF #81-2, { 2.)

The dispute over SST’s assertion of the mediation privilege first arose during the case
management conference on July 9, 2014. (See ECF No. 38.) Judge Koh instructed that the
scope of the mediation privilege should be brought before Magistrate Judge Grewal. (/d.) SST
raised the mediation privilege as an objection to the Insurers’ document production requests in
SST’s responses to those requests, served in December 2014. (E.g., ECF #69, Ex. 1.) And SST
provided its final privilege log to the Insurers in March 2015. (ECF #74-1, Ex. 2.) Yet,
consistent with Judge Koh’s recent finding that the Insurers have not been diligent in discovery,
the Insurers waited until just three weeks before the close of fact discovery to raise the issue
with this Court.

Yt. ARGUMENT

A. The Mediation Privilege Protects The Communications The Insurers Seek

The documents and communications the Insurers seek fall directly within the mediation
privilege. California’s broad mediation privilege provides that “[n]o writing . . . that is prepared
for the purpose of, in the course of, or pursuant to, a mediation or a mediation consultation is
admissible or subject to discovery” (Cal. Evid. Code, §1119(b)), and that “[a]ll communications,
negotiations, or settlement discussions . . . in the course of a mediation or mediation consultation
shall remain confidential.” /d., §1119(c). Such mediation communications and writings remain
“inadmissible, protected from disclosure, and confidential to the same extent after the mediation
ends.” Cal. Evid. Code § 1126; see Simmons v. Ghaderi, 44 Cal. 4th 570, 580 (2008).

This statutory protection reflects overwhelming public policy concerns: “promot[ing] a

candid and informal exchange” that can be “achieved only if the participants know that what is

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said in the mediation will not be used to their detriment through later court proceedings and
other adjudicatory processes.” Foxgate Homeowners’ Ass'n v. Bramalea Cal., Inc., 26 Cal. 4th
1, 14 (2001) (internal quotation marks and citation omitted); see also Cassel, 51 Cal. 4th at 124
(“{t]he purpose of these provisions is to encourage the mediation of disputes by eliminating a
concern that things said or written in connection with such a proceeding will later be used
against a participant.”). Thus, the mediation confidentiality statutes “are designed to provide
maximum protection for the privacy of communications in the mediation context.” Cassel, 51
Cal. 4th at 132.

To provide such protection, mediation confidentiality is not limited to just
communications made in the course of mediation. Rather, communications and writings made
for “the purpose of, in the course of, or pursuant to, a mediation or mediation consultation” are
not admissible or subject to discovery. Cal. Evid. Code, §1119(b); see also Cassel, 51 Cal. 4th
at 128 (“It follows that, absent an express statutory exception, all discussions conducted in
preparation for a mediation, as well as all mediation-related communications that take place
during the mediation itself, are protected from disclosure.”).

The Insurers’ efforts to find a loophole allowing them to use confidential mediation
documents runs counter to the California Supreme Court’s rulings. The California Supreme
Court has “repeatedly said that these [mediation] confidentiality provisions are clear and
absolute.” Cassel, 51 Cal. 4th at 117. The California Supreme “Court has repeatedly resisted
attempts to narrow the scope of mediation confidentiality.” Wimsatt, 152 Cal. App. 4th at 152.
Instead, that “Court has held that the mediation statutes are to be broadly construed to effectuate
the legislative intent, even if there are conflicting public policies and even if the equities in a
particular case suggest a contrary result.” /d. at 142,

For example, in Foxgate Homeowners Assn., the California Supreme Court held that even
sanctionable conduct occurring during a mediation is confidential and, therefore, may not be
disclosed for the purpose of seeking sanctions. 26 Cal. 4th at 15-17. Similarly, in Simmons v.

Ghaderi, the Court held that the doctrines of implied waiver and estoppel do not apply to

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mediation confidentiality and that disclosure is limited to the narrow exceptions set forth in the
mediation confidentiality statutes. 44 Cal. 4th 584-588. In Cassel, the Court held that the
attorneys’ mediation-related discussions with their client were confidential and, therefore, were
neither discoverable nor admissible for purposes of proving claims of legal malpractice “even
though [that would] compromise the petitioner’s ability to prove his claim of legal malpractice.”
51 Cal. 4th at 119. As these decisions reflect, the California mediation privilege is close to
absolute in a civil case, even where the evidence might be highly relevant and useful in that case
or in a later case.

As to the scope of the privilege, the California Evidence Code provides that a
“mediation” consists not just of (a) communications “made for the purpose of, in the course of,
or pursuant to a mediation” or a “mediation consultation” (i.e., pre-mediation communications
“for the purpose of initiating, considering, or reconvening a mediation, or retaining the
mediator”), but also (b) communications during any period within 10 days after a mediation
unless the parties agree in writing to terminate the mediation and (c) any subsequent
communication with the mediator if there is an agreement of the parties to continue the
mediation process. See Cal. Evid. Code, § 1125(a)(5) (“a mediation ends when ... [f]or 10
calendar days, there is no communication between the mediator and any of the parties . . . [but]
the parties may shorten or extend this time by agreement”).

The mediation confidentiality provisions “unqualifiedly bar disclosure of certain
communications and writings produced in mediation absent an express statutory exception.”
Simmons, 44 Cal. 4th at 583. The only express statutory exception even potentially relevant
here is set forth in California Evidence Code Section 1122(a)(1), which provides that a
communication or writing that is made or prepared “for the purpose of, or in the course of, or
pursuant to, a mediation or a mediation consultation” is not protected from disclosure if “[a]ll
persons who conduct or otherwise participate in the mediation expressly agree in writing, or
orally in accordance with Section 1118, to disclosure of the communication, document, or

writing.” Therefore, pursuant to Section 1122(a)(1), unless all participants in the mediation

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expressly agreed to the disclosure of a mediation communication or writing, mediation
confidentiality remains intact. See Cassel, 51 Cal. 4th at 133 (“To assure this maximum privacy
protection, the Legislature has specified that all mediation participants involved in a mediation-
related communication must agree to its disclosure.”).

The California Law Revision Commission comments following Section 1122 make clear
that the phrase “persons who conduct or otherwise participate in the mediation” is to be
construed broadly: “Subdivision (a)(1) states the general rule that mediation documents and
communications may be admitted or disclosed only upon agreement of all participants,
including not only parties but also the mediator and other nonparties attending the mediation
(e.g., a disputant not involved in litigation, a spouse, an accountant, an insurance representative,
or an employee of a corporate affiliate).” Cal. Law Revision Com. com., foll. § 1122 (emphasis
added). The California Supreme Court has likewise interpreted the Commission’s comments
regarding “participants” broadly. “The list provided by the Commission is, by its terms, not all-
inclusive (note the ‘e.g.’ preceding the examples given), and no reason appears why other
persons attending and assisting in the mediation on behalf of the disputants, such as their
counsel, are not themselves distinct ‘participants’ who must agree to the disclosure of
confidential mediation-related communications they made or received.” Cassel, 51 Cal. 4th at
131: see also Eisendrath v. Superior Court, 109 Cal. App. 4th 351, 359 (2003) (finding that the
phrase “all persons” in Section 1122 includes not only parties but also the mediator and other
nonparties attending the mediation); Travelers Cas. & Sur. Co. v. Superior Court, 126 Cal. App.
4th 1131, 1146 n. 18 (2005) (finding that the mediation confidentiality statutes “were intended
to apply to participants, not just parties, including insurance company representatives”); Houck
Const., Inc. v. Zurich Specialties London Ltd., 2007 WL 1739711, at *2 (C.D. Cal. June 4, 2007)
(holding that California Evidence Code Section 1119 encompasses communications between an
insurer and its insured). Thus, any mediation communications with the parties to the mediation
or their counsel would fall within the privilege.

Unhappy with the scope of the mediation confidentiality statute, the Insurers argue that

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(1) the California mediation privilege does not apply in this diversity case even where the
underlying action occurred in California state court and California provides the rule of decision
for the coverage dispute before this federal court, (2) some of the privileged communications are
not sufficiently tied to a mediation to be protected, and (3) not producing these communications

violates their “due process” rights. We discuss each argument in turn.

B. The California Mediation Privilege Applies In This Diversity Case

Federal Rule of Evidence 501 provides that “in a civil case, state law governs privilege
regarding a claim or defense for which state law supplies the rule of decision.” The Insurers
acknowledge that this is a diversity action, in which California law governs, but argue that
California’s mediation confidentiality statute does not apply in this case. As noted above,
however, Judge Koh very recently rejected the same argument in Chavez v. PVH Corp., 2014
WL 6617142 at *6.

Chavez concerned a motion to intervene in a class action for purposes of objecting to a
proposed settlement. The proposed intervenor submitted confidential mediation documents
from the mediation, so Judge Koh had to address whether such materials were properly
submitted. The defendants in the case objected to the disclosure, arguing that California’s
mediation privilege governed, while the intervenor argued instead that Federal Rule of Evidence
408 applied and under that rule the materials would be admissible. /d. at *6-7. Rejecting the
intervenor’s argument, Judge Koh held that the California mediation privilege applied and

barred disclosure:

The Court finds that “state law supplies the rule of decision” because
both the instant action and the Scott-George/Wiggs action implicate
only state law action causes of action. As such, under Federal Rule
of Evidence 501, the Court applies California law as to the scope of
the mediation privilege (cites omitted). Under California law, any
oral or written communication made “for the purpose of, or in the
course of, or pursuant to, a mediation or mediation consultation,” is
privileged and therefore inadmissible unless it falls within a statutory
exception. (cites omitted). Proposed intervenors fail to identify an
applicable statutory exception, and the Court concludes that none
would apply here. The Court therefore disregards Proposed

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Intervenors’ improper disclosures of the actual contents of
Defendant PVH Corporations written mediation statements.

Td. at *6, n.4.

Judge Koh got it exactly right and myriad federal courts have come to the same
conclusion, including the Ninth Circuit. See Goerner v. Axis Reinsurance Co., 400 Fed. Appx.
226 (9th Cir. 2010) (admission of a mediation brief from the underlying lawsuit was error under
Cal. Evid. Code § 1119); see also Fehr v. Kennedy, 387 Fed. Appx. 789 (9th Cir. 2010) (in
diversity action commenced in federal court for legal malpractice, Ninth Circuit affirmed
District Court order excluding evidence of attorney malpractice during mediation based upon
Oregon’s mediation confidentiality statute).

SST cannot find (and the Insurers have not cited) a single case that held to the contrary.
In contrast, SST has listed twenty federal cases applying the mediation privilege in Appendix A.
Among those are Doublevision Entm’t, LLC v. Navigators Spec. Ins. Co., 2015 U.S. Dist.
LEXIS 10425, at*4 (N.D. Cal. Jan. 28, 2015) (applying Cal. Evid. Code § 1119 et seq. because
“[s]tate privilege law governs when a federal court exercises diversity jurisdiction over the
parties’ claims for relief.”); Haskins v. Employers Ins. of Wausau, 2015 U.S. Dist. LEXIS
10645, at *7 fn. 1 (N_D. Cal. Jan. 28, 2015) (applying Cal. Evid. Code § 1119 et seg. because
“Ta]s this action is before the court based on diversity jurisdiction, questions regarding the
application of privileges are governed by California law.”); State Nat'l Ins. Co. v. Khatri, 2014
U.S. Dist. LEXIS 64549 at *23 (N.D. Cal. May 9, 2014) (same, applying Cal. Evid. Code §
1119 and finding that “the facts, circumstances, and terms of the... mediation ... are
privileged”); McCoy v. Health Net, Inc., No. 03-cv-1801 (FSH) (MH) (D.N.J. Mar. 26, 2015)
(rejecting argument by same lead counsel representing the Insurers in this case that the
California mediation privilege would not apply); Olam v. Congress Mortg. Co. 68 F. Supp. 2d
1110, 1124-1125 (N.D. Cal. 1999) (state “mediator’s privilege” and its exceptions apply in
litigation to enforce settlement agreement “when state substantive law is the source of the rule of
decision on the claim to which the proffered evidence from the mediation is relevant”).

The Insurers cite Milhouse y. Travelers Commer. Ins. Co., 982 F. Supp. 2d 1088, 1105 fn.

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10 (C.D. Cal. 2013), where the court, in dictum in a footnote, merely raised the question of
whether Rule 408 or the California mediation privilege would govern when they are in conflict.
However, that court then said that “the question need not be resolved here.” Jd. But that
question was resolved in a score of other cases ~ at least eight of which were decided after
Milhouse — all holding that the California mediation privilege applies in a diversity case where
state law provides the rule of decision, as is the case here. See cases cited in Appendix A.

The Insurers also suggest that the California mediation privilege is not actually a
privilege, so Rule 501 does not apply. Once again, myriad courts disagree, as they have applied
Rule 501 to the mediation privilege. Indeed, the only case the Insurers cite for this argument is
Cassel, and only because the Court referred to Section 1119 as a “mediation confidentiality,”
rather than calling it a privilege. Not only was Casse/ not addressing whether Federal Rule of
Evidence 501 incorporates the California mediation privilege into a diversity action — as noted,
every federal court that addressed that issue found it does — Cassel used that terminology to
demonstrate that the waiver exceptions to the attorney-client privilege do not apply to the
mediation privilege because the California legislature actually intended for the “mediation
confidentiality” to be even more protective. Cassel, 51 Cal. 4th at 132-133 (“The mediation
confidentiality statutes govern only the narrow category of mediation-related communications,
but they apply broadly within that category, and are designed to provide maximum protection
for the privacy of communications in the mediation context....To assure this maximum privacy
protection, the Legislature has specified that all mediation participants involved in a mediation-
related communication must agree to its disclosure.’””). And at least seven published California
Court of Appeal decisions since Cassel have referred to the “mediation privilege.” See cases
cited in Exhibit B.

There can be no question that California Evidence Code §§1115 ef. seq. applies in this

diversity action.

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C. The Mediation Privilege Extends To Communications Both Before And At
Least 10 Days After the Mediation And Was Not Waived Here

California law provides that “all discussions conducted in preparation for a mediation”
are protected from disclosure. Cassel, 51 Cal. 4th at 128. In an another attempt to pierce the
privilege, the Insurers also seek to compel production of e-mails and other communications
leading up to the August 15, 2012 mediation, including communications between SST and Xicor
and communications between SST and National Union. But California’s mediation privilege
applies to all communications pursuant to a mediation, regardless of who specifically is
involved. See Cassel, 51 Cal. 4th at 128 (protected “communications include those between a
mediation disputant and his or her own counsel, even if these do not occur in the presence of the
mediator or other disputants”); Wimsatt, 152 Cal. App. 4th at 160 (holding that e-mails
transmitted before the second mediation are subject to the mediation privilege). In light of this
and other similar authority, it is not surprising that the Insurers have cited no case holding that to
be protected by the mediation privilege, the communications have to be during actual mediation
sessions, or include the mediator.

The period before a mediation is often when the most sensitive documents, such as
mediation briefs or statements of positions are exchanged. To hold the mediation privilege
inapplicable to documents exchanged in advance of mediations would thwart the purpose of the
mediation privilege. Rojas v. Superior Court, 33 Cal. 4th 407, 416-417 (2004) (rejecting Court
of Appeal’s holding that “derivative material” prepared in connection with a mediation may be
discoverable, as such a rule would be “inconsistent with the overall purpose of the mediation
confidentiality provisions”). That is why the mediation privilege is focused on the purpose of
the communications: whether they are made “for the purpose of, in the course of, or pursuant to,
a mediation.” Cal. Evid. Code, §1119; see Wimsatt, 152 Cal. App. 4th at 160 (“Mediation
confidentiality is to be applied where the writing, or statement would not have existed but for a
mediation communication, negotiation, or settlement discussion.”). Therefore, the
communications made leading up to the August 15, 2012 mediation also are protected and
cannot be disclosed. This includes the identified communications from June, July, and August

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2012. Similarly, communications in March and April 2011 concerning the mediation the parties
had planned then, but which was not formally held at that time and was re-scheduled for August
2012, are also privileged and cannot be disclosed. Carothers Decl., { 7.

The Insurers assert that, in a comment at the July 9, 2014 status conference, counsel for
SST “waived” the mediation privilege for communications occurring in the 10-day period after
the August 15, 2012 mediation. However, SST’s counsel was referring to an on-the-record
settlement demand letter that was provided to the Insurers at the time and produced in this
litigation; to the extent those comments encompassed more than the specific settlement demand
letter that was sent outside the mediation process, which led to the Court including in an order
that documents during such period are not protected, counsel misspoke. Goodwin Decl., 4. In
fact, counsel could not have properly waived the mediation privilege at the case management
conference. Because not all of the those who participated in the mediation agreed to a waiver,
and because there is no waiver in writing, any oral statement at the status conference would not
satisfy California Evidence Code Section 1122(a)(1) and, therefore, would be ineffective.
Accordingly, all conduct, communications and writings relating to the mediation remain
protected from disclosure, including such conduct, communications and writings occurring up to

ten days after the August 15, 2012 mediation. Cassel, 51 Cal. 4th at 128.

D. The Insurers Have No Due Process Rights to the Protected Mediation
Communications

Attempting to circumvent the broad mediation privilege, the Insurers argue that they have

a due process right to SST’s protected mediation communications. However, the California
Supreme Court has confirmed that “there are no exceptions to the confidentiality of mediation
communications.” Foxgate, 26 Cal. 4th at 4. Accordingly, courts have consistently refused to
find waiver of the mediation privilege, even in cases where “due process” concerns have far
greater weight than anything the Insurers could possibly raise here. See id. at 17-18 (privilege
precluded evidence for a motion for sanctions that an attorney was obstructing the mediation
process); Kurtin v. Elieff, 215 Cal. App. 4th 455, 475-476 (2013) (refusing to create a “due

process” exception to the mediation privilege); Eisendrath v. Superior Court, 109 Cal. App. 4th
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351 (2003) (mediation privilege could not be pierced to show litigant’s subsequent statements
inconsistent with those made in mediation).

As the California Supreme Court has explained, the “application of the mediation
confidentiality statutes to [civil damages] actions does not implicate due process concerns so
fundamental that they might warrant an exception on constitutional grounds.” Cassel, 51 Cal.
4th at 135. Thus, the “mere loss of evidence pertinent to the prosecution of a lawsuit for civil
damages” does not warrant the repeal of or creating an exception to the mediation privilege;
indeed, the protection of such evidence is the very purpose of the privilege. /d. As one

California Court of Appeal put it:

The Supreme Court has repeatedly resisted attempts to narrow the
scope of mediation confidentiality. The court has refused to
judicially create exceptions to the statutory scheme, even in
situations where justice seems to call for a different result. Rather,
the Supreme Court has broadly applied the mediation confidentiality
statutes and has severely curtailed courts’ ability to formulate
exceptions. The court has stated that “[t]o carry out the purpose of
encouraging mediation by ensuring confidentiality, the statutory
scheme ... unqualifiedly bars disclosure of communications [and
writings] made during mediation absent an express statutory
exception.”

Wimsatt, 152 Cal. App. 4th at 152 (quoting Foxgate, 26 Cal. 4th at 15).

The Insurers cite to an inapposite district court decision in which the trial judge held that
the plaintiffs had waived their argument that the court erroneously admitted their mediation
statements by failing to object at trial or, alternatively, that the court would have admitted the
statements. Milhouse , 982 F. Supp. 2d at 1105-1106. The plaintiffs in that case argued that
Travelers acted in bad faith by unreasonably failing to settle with the plaintiffs for their fire loss,
and made misleading statements about Travelers’ settlement efforts. /d. at 1106-1107. The court
held that admission of the mediation statements was proper to show that the parties did not settle
because the plaintiffs “demanded way too much money to settle their claim.” Jd. at 1108.

Milhouse is probably not good law, as a subsequent California Court of Appeal decision,

Amis v. Greenberg Traurig LLP, 235 Cal. App. 4th 331, 333, 339-40 (2015), “acknowledge[d]

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our Supreme Court’s near categorical prohibition against judicially crafted exceptions to the
mediation confidentiality statutes” and held that a client could not introduce evidence of his
attorneys’ conduct in connection with a mediation to support a legal malpractice claim, or even
attempt to draw inferences from that conduct. In any event, in the present case, in contrast to
Milhouse, where Travelers wanted to admit evidence of its own mediation conduct to rebut the
plaintiffs’ misleading arguments about Travelers’ settlement conduct toward its insureds, the
Insurers here have no remotely similar argument as to why due process demands that they
access the mediation communications of their insured. Even if there were a waiver doctrine,
there has been no waiver here as already discussed. It is only the Insurers who continue to seek
to pry into privileged communications, but their attempts to do so over SST’s objection cannot
create a “waiver” by SST.

There is no “due process” exception to the California mediation privilege in this case.

E. The Common Interest Doctrine

The Insurers also argue that they are entitled to production of documents exchanged
between counsel for SST and the lawyers representing two former SST employees who were
defendants in the Trade Secret Action: Bing Yeh and Amitay Levi. The Insurers contend that
the “common interest” doctrine does not apply to those communications.

The common interest doctrine is not a privilege in and of itself. Instead, it is an exception
to the rule on waiver where communications are disclosed to third parties. As this Court
explained, the doctrine “applies ‘where allied lawyers and clients work together in prosecuting
or defending a lawsuit so that they may exchange information among themselves without
waving the privilege’... .” Integrated Global Concepts, Inc. v. j2Global, Inc., No. 5:12-cv-
03434-RMW (PSG); see United States v. Bergonzi, 216 F.R.D. 487, 495-96 (N.D. Cal. 2003)
(discussing “the common interest exception to waiver of the attorney-client/work product
privilege”); see also Meza v. H. Muehlstein & Co., 176 Cal. App. 4th 969, 981 (2009) (“the
common interest doctrine is more appropriately characterized . . . as a nonwaiver doctrine,

analyzed under standard waiver principles applicable to the attorney-client privilege and the

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work product doctrine”). The common interest doctrine provides that disclosure to a third party
does not waive work product protection where the third party shares a common interest with the
disclosing party that is adverse to that of another party. Bergonzi, 216 F.R.D. at 495.

In the work product context, the common interest exception is not limited only to co-
parties. United States v. Am. Tel. and Tel. Co., 642 F.2d 1285, 1298-99 (D.C. Cir. 1980);
Thought, Inc. v. Oracle Corp., No. 12-cv-05601-WHO (MEJ) (N.D. Cal. 2014) (“where allied
lawyers and clients work together in prosecuting or defending a lawsuit so that they may
exchange information among themselves without waving the privilege’) (citation omitted). The
shared interest can either be financial or commercial in nature. Pecover v. Elec. Arts Inc., 2011
U.S. Dist. LEXIS 138926, *6-7 (N.D. Cal. Dec. 2, 2011); see also United States v. Deloitte LLP,
610 F.3d 129, 141 (D.C. Cir. 2010) (finding no waiver where the disclosing party had “a
reasonable basis for believing that the recipient would keep the disclosed material
confidential”). In other words, “[t]he great weight of authority holds that disclosure of work
product to individuals who share a common interest with the disclosing party does not constitute
waiver.” See Cal. Sportfishing Prot. Alliance v. Chico Scrap Metal, Inc., 299 F.R.D. 638, 646
(E.D. Cal. 2014) (listing cases).

The Insurers rely on Lord Abbett Mun. Inc. Fund, Inc. v. Asami, 2013 U.S. Dist. LEXIS
147830 (N.D. Cal. 2013), to argue that the common interest doctrine is narrowly tailored and
only applicable to very specific issues. However, Lord Abbett involved the assertion of the
common interest doctrine in the context of the attorney-client privilege, not the work-
product doctrine. See Cal. Sportfishing Prot. Alliance, 299 F.R.D. at 647 (distinguishing Lord
Abbett). Accordingly, Lord Abbett is not on point as it concerned the more narrowly tailored
common interest exception to the attorney client privilege, rather than to the sharing of work
product among co-defendants, at issue here.

It is undisputed that SST, Yeh, and Levi were all co-defendants in the Trade Secret
Action, and all were accused of trade secret misappropriation of the alleged Xicor trade secrets.

SST agreed to indemnify Yeh and Levi, and signed joint defense agreements with each. (ECF

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#94: Carothers Decl., {4 5, 10 & Exs. A-C.” They all had a common interest in defending
against the Trade Secret Action as each was a defendant, and SST was funding the defense of
all. Carothers Decl., § 5. The communications that were the subject of the objection were not
disclosed to adverse parties. /d., §. 10. Thus, a common interest existed between SST, Yeh, and
Levi as to the defense of the Trade Secret Action, and it existed as an exception to the work
product doctrine for issues relating to the defense of the Trade Secret Action. The common
interest doctrine, as an exception to the waiver of the work-product doctrine, thus protects their

communications and protects them from disclosure here.

F. An In Camera Inspection is Not Proper

The Insurers also seek, in the alternative, an order requesting SST provide the documents
subject to California mediation privilege for an in camera inspection. However, again, the
Insurers provide no authority in support of their position that such an inspection would be
appropriate in this case. The law is clear: a judge does not need to know and should not know or
consider the contents of mediation statements when determining whether those statements are
protected by mediation confidentiality and, if so, whether that protection has been waived. See,
e.g., Ryan v. Garcia, 27 Cal. App. 4th 1006, 1009-10 (1994) (“Judicial sifting of statements
made at a confidential mediation to select those which can be used as evidence . . . contravenes

the legislative intent underlying adoption of [the confidentiality provisions].”); see also N.D.

2 The Insurers based this argument in large part on the mistaken assumption that no joint
defense agreements exist between SST and its former employees Bing Yeh and Amitay Levi.
The day this opposition brief was due, counsel for National Union acknowledged that the
assumption was, in fact, a mistake and that SST had produced joint defense agreements to the
Insurers. (ECF #94.) That pleading implies, however, that no common interest can exist
because SST signed separate agreements with Yeh and Levi (and with Yeh’s company,
Greenliant). But as the Ninth Circuit has explained: “[I]t is clear that no written agreement is
required, and that a JDA may be implied from conduct and situation, such as attorneys
exchanging confidential communications from clients who are or potentially may be
codefendants or have common interests in litigation.” United States v. Gonzalez, 669 F.3d 974,
979 (9th Cir. 2012); see Carothers Decl., {¥ 5, 10.

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Cal. ADR Local Rule 6-12(a)(2) (“[A]ll counsel and parties shall treat as ‘confidential
information’ the contents of the written Mediation Statements. .. . ‘Confidential information’
shall not be . . . [d]isclosed to the assigned judge. .. .”).

The Court therefore should deny the Insurers’ request for alternative relief. In the event
the Court concludes that factual questions exist regarding whether the mediation privilege
applies to particular communications, the proper remedy would be to require a further privilege
log, not to order the disclosure of privileged communications to either the Insurers or for an in

camera inspection.

H. No Basis Exists For A Continuance Of The Fact Discovery Cutoff

At the close of their motion, the Insurers again demand an extension of the discovery
cutoff. Rather than brief the issue for the fifth time (between this Court and briefing before
Judge Koh), SST respectfully refers the Court to ECF #63, #84, #85, #89.

IV. CONCLUSION

For all of the foregoing reasons, the Court should deny in its entirety the Insurers’ motion

to compel.
Dated: May 29, 2015 Respectfully submitted,
By: /s/ David B. Goodwin

David B. Goodwin

Attorneys for Plaintiff

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APPENDIX A

Federal decisions acknowledging the California mediation privilege:

. Goerner v. Axis Reinsurance Co., 400 Fed. Appx. 226 (9th Cir. 2010)

Kasperzyk v. Shetler Security Services, Inc., 2015 WL 1348503 (N.D. Cal. 2015)
Pacific Marine Center, Inc. v. Philadelphia Indem. Ins. Co., 2015 WL 1565362 (E.D.
Cal. 2015)

Haskins v. Employers Insurance of Wausau, 2015 WL 369983 (N.D. Cal. 2015)
Ironshore Specialty Ins. Co. v. 23andMe, Inc., 2015 WL 2265900 (N.D. Cal. 2015)
McCoy v. Health Net, Inc., No. 03-cv-1801 (FSH) (MH) (D. N.J. Mar. 26, 2015) (copy
enclosed)

Doublevision Ent., LLC v. Navigators Specialty Ins. Co., 2015 WL 370111 (N.D. Cal.
2015)

Chavez v. PVH Corp., 2014 WL 6617142 (N.D. Cal. 2014)

Gonzales v. T-Mobile, USA, Inc., 2014 WL 4055365 (S.D. Cal. 2014)
. State Nat’! Ins. Co. v. Khatri, 2014 U.S. Dist. LEXIS 64549 (N.D. Cal. 2014)
_Inre TFT-LCD (Flat Panel) Antitrust Litigation, 2013 WL 6326707 (N.D. Cal. 2013)
. Cornell University v. Illumina, Inc., 2013 WL 3216087 (D. Del. 2013)
. Blodgett v. Allstate Ins. Co., 2012 WL 2377031 (E.D. Cal. 2012)

. Benesch v. Green, 2009 WL 4885215 (N.D. Cal. 2009)
. Evanston Ins. Co. v. Preferred Properties, LLC, No. S 08-993 FCD GGH (E.D. Cal. Sep.
9, 2008) (copy enclosed)
. Houck Const., Inc. v. Zurich Specialties London Ltd, 2007 WL 1739711 (C.D. Cal.
2007)
_ Orlando v. Carolina Cas. Ins. Co., 2007 WL 781598 (E.D. Cal. 2007)
. Johnson v. America Online, Inc., 280 F. Supp. 2d 1018 (N.D. Cal. 2003)

. Gonzalez v. Valenzuela, 2002 WL 34700599 (C.D. Cal. 2002)
. Olam v. Congress Mortg. Co., 68 F. Supp. 2d 1110 (N.D. Cal. 1999)

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SILICON STORAGE TECHNOLOGY, INC.’S OPPOSITION TO DEFENDANTS’ 5:13-cv-05658-LHK
MOTION TO COMPEL RE MEDIATION AND JOINT DEFENSE PRIVILEGE

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APPENDIX B

California decisions acknowledging the California mediation privilege or confidentiality

subsequent to Cassel v. Superior Court, 51 Cal. 4th 113 (2011):

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3,
4. Inre Marriage of Woolsey, 220 Cal. App. 4th 881, 901 (2013)

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Amis v. Greenberg Traurig LLP, 235 Cal. App. 4th 331, 339-40 (2015)

. Bower v. Inter-Con Security Systems, Inc., 232 Cal. App. 4th 1035, 1045 n.

Lappe v. Superior Court, 232 Cal. App. 4th 774, 782-83 (2014)

Kurtin v. Elieff, 215 Cal. App. 4th 455, 475-76 (2013)

1 (2014)

Provost v. Regents of University of Cal., 201 Cal. App. 4th 1289, 1303-04 (2011)

In re Marriage of Davenport, 194 Cal. App. 4th 1507, 1522 (2011)

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